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                              BARSHAY SANDERS, PLLC
                         1    Craig B. Sanders
                              100 Garden City Plaza, Suite 500
                         2    Garden City, NY 11530
                              Tel: (516) 203-7600
                         3    Email: csanders@barshaysanders.com
                         4    Attorneys for Plaintiff
                              File No.: 120145
                         5
                                                            UNITED STATES DISTRICT COURT
                         6                                   MIDDLE DISTRICT OF FLORIDA
                         7
                         8       Mockingbird 38, LLC,

                         9                                  Plaintiff,
                                                                                          Case No:
                        10
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                                           v.
                        11                                                                      COMPLAINT
                                 Storerotica, Inc.,
                        12
                        13                                 Defendant.
                                 -----------------------------------------------------/
                        14
                        15            Plaintiff Mockingbird 38, LLC (“Plaintiff”), by and through its undersigned counsel,

                        16    for its Complaint against Defendant Storerotica, Inc. (“Defendant”) states and alleges as

                        17    follows:
                        18
                                                                          INTRODUCTION
                        19
                                      1.        This action seeks to recover damages for copyright infringement.
                        20
                        21            2.        Plaintiff herein provides entertainment-related photojournalism goods and

                        22    services and own the rights to Photograph featuring celebrities which they license to online

                        23    and print publications.
                        24
                                      3.        Plaintiff has obtained U.S. copyright registrations covering many of its
                        25
                              Photograph, and many others are the subject of pending copyright applications.
                        26
                        27            4.        Defendant owns and operates a website known as www.storerotica.com (the

                        28    “Website”).


                                                                                       1
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                                     5.      Defendant, without permission or authorization from Plaintiff actively copied,
                         1
                         2    stored, modified, and/or displayed Plaintiff's Photograph on the Website and engaged in this

                         3    misconduct knowingly and in violation of the United States copyright laws.
                         4
                                                                          PARTIES
                         5
                                      6.     Mockingbird 38, LLC is a New York Limited Liability Company and
                         6
                              maintains its principal place of business in Nassau County, New York.
                         7
                         8            7.     On information and belief, Defendant Storerotica, Inc., is a Florida

                         9    Corporation with a principal place of business in Pinellas County, Florida and is liable and
                        10
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                              responsible to Plaintiff based on the facts herein alleged.
                        11
                                                               JURISDICTION AND VENUE
                        12
                                     8.      This Court has subject matter jurisdiction over the federal copyright
                        13
                        14    infringement claims pursuant to 28 U.S.C. §1338(a) and 28 U.S.C. §1331.

                        15            9.     This Court has personal jurisdiction over Storerotica, Inc. because Storerotica,
                        16
                              Inc. maintains its principal place of business in Florida.
                        17
                                      10.    Venue is proper under 28 U.S.C. §1391(a)(2) because Storerotica, Inc. does
                        18
                              business in this Judicial District and/or because a substantial part of the events or omissions
                        19
                        20    giving rise to the claim occurred in this Judicial District.

                        21                                FACTS COMMON TO ALL CLAIMS
                        22
                                     11.     Plaintiff is the legal and rightful owners of Photograph which it licenses to
                        23
                              online and print publications.
                        24
                                      12.    Plaintiff has invested significant time and money in building its photograph
                        25
                        26    portfolio.

                        27            13.    Plaintiff has obtained active and valid copyright registrations from the United
                        28


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                              States Copyright Office (the “USCO”) which cover many of Plaintiff's Photograph while
                         1
                         2    many others are the subject of pending copyright applications.

                         3            14.    Plaintiff's Photograph are original, creative works in which Plaintiff's own
                         4
                              protectable copyright interests.
                         5
                                       15.   Defendant is the owner of the Website and responsible for its content.
                         6
                                       16.   Defendant is the operator of the Website and is responsible for its content.
                         7
                         8             17.   The Website is popular and lucrative enterprises that purposefully display

                         9    celebrity and/or news Photograph, including Plaintiff's copyrighted Photograph.
                        10
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                                       18.   The Website is monetized in that it contains paid advertisements and/or sells
                        11
                              merchandise to the public and, on information and belief, Defendant profits from these
                        12
                              activities.
                        13
                        14             19.   On May 28, 2019 a photograph of *PREMIUM EXCLUSIVE NO WEB

                        15    UNTIL 1800 BST 30TH MAY* Cara Delevingne and Ashley Benson buy a sexual bondage
                        16
                              bed restraint while shopping together in Hollywood (the “Photograph”) was authored. A copy
                        17
                              of the Photograph is attached collectively in Exhibit 1.
                        18
                                       20.   Plaintiff acquired the rights and applied to the USCO to register the
                        19
                        20    Photograph on February 4, 2020 under Application No. 1-8514267581.

                        21             21.   The Photograph was registered by USCO on February 4, 2020 under
                        22
                              Registration No. VA0002196879.
                        23
                                       22.   Plaintiff    observed     the     Photograph      on     Defendant's     domain
                        24
                              www.storerotica.com on June 28, 2019.          A copy of Screengrab of Defendant's website
                        25
                        26    including Photograph 1 is attached hereto collectively in Exhibit 2.

                        27             23.   A copy of the Photograph was stored and displayed on Defendant's domain
                        28


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                              www.storerotica.com at the following URL: https://storerotica.com/cara-delevingne-ashley-
                         1
                         2    benson-lessons-in-obedience/.

                         3            24.    Without permission or authorization from Plaintiff, Defendant volitionally
                         4
                              selected, copied, modified, stored and/or displayed Plaintiff’s copyright protected photograph,
                         5
                              as set forth in Exhibit “1” which is annexed hereto and incorporated in its entirety herein, on
                         6
                              the Website.
                         7
                         8           25.     On information and belief, the Photograph was copied, modified, stored and/or

                         9    displayed without license or permission, thereby infringing on Plaintiff's copyrights (the
                        10
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                              “Infringement”).
                        11
                                     26.     The Infringement includes a URL (“Uniform Resource Locator”) for a fixed
                        12
                              tangible medium of expression that was sufficiently permanent or stable to permit it to be
                        13
                        14    communicated for a period of more than transitory duration and therefore constitutes a

                        15    specific infringement.
                        16
                                     27.     The Infringement is an exact copy of Plaintiff's original image that was directly
                        17
                              copied and stored by Defendant on the Website.
                        18
                                     28.     On information and belief, Defendant takes an active and pervasive role in the
                        19
                        20    content posted on its Website, including, but not limited to copying, posting, selecting,

                        21    commenting on and displaying Plaintiff's Photograph.
                        22
                                     29.     On information and belief, Defendant directly contributes to the content posted
                        23
                              on the Website by, inter alia, directly employing authors, moderators and administrators, as
                        24
                              Defendant's agents (hereinafter collectively referred to as “Employees”) who are each
                        25
                        26    responsible for operating and controlling the activities on the Website.

                        27           30.     On information and belief, the Photograph was volitions posted to the Website
                        28


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                              by Employees.
                         1
                         2           31.      On information and belief, at all material times the Employees were acting

                         3    within the course and scope of their employment when they volitionally posted the
                         4
                              Infringement.
                         5
                                     32.      On information and belief, at all material times the Employees were acting
                         6
                              within the course and scope of their agency when they volitionally posted the Infringement.
                         7
                         8           33.      On information and belief, Defendant is not registered with the United States

                         9    Copyright Office pursuant to 17 U.S.C. §512.
                        10
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                                     34.      On information and belief, the Infringement were not posted at the direction of
                        11
                              a “user” as that term is defined in 17 U.S.C. §512(c).
                        12
                                     35.      On information and belief, Defendant was aware of facts or circumstances
                        13
                        14    from which the determination regarding the Infringement was apparent. Defendant cannot

                        15    claim that it was aware of the infringing activities, including the specific Infringement which
                        16
                              form the basis of this complaint, since such a claim would amount to only willful blindness to
                        17
                              the Infringement on the part of Defendant.
                        18
                                     36.      On information and belief, Defendant engaged in the Infringement knowingly
                        19
                        20    and in violation of applicable United States Copyright Laws.

                        21           37.      On information and belief, Defendant has the legal right and ability to control
                        22
                              and limit the infringing activities on its Website and exercised and/or had the right and ability
                        23
                              to exercise such right.
                        24
                                     38.      On information and belief, Defendant's Employees had complete control over
                        25
                        26    and actively reviewed and monitored the content posted on the Website.

                        27           39.      On information and belief, Defendant has received a financial benefit directly
                        28


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                              attributable to the Infringement. Specifically, by way of the Infringement, the Website had
                         1
                         2    increased traffic to the and, in turn, realized an increase its advertising revenues and/or

                         3    merchandise sales.
                         4
                                     40.     On information and belief, a large number of people has viewed the unlawful
                         5
                              copies of the Photograph on the Website.
                         6
                                     41.     On information and belief, Defendant at all times had the ability to stop the
                         7
                         8    reproduction and display of Plaintiff's copyrighted material.

                         9           42.     As a result of Defendant's misconduct, Plaintiff has been substantially harmed.
                        10
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                                                                      FIRST COUNT
                        11                         (Direct Copyright Infringement, 17 U.S.C. §501 et seq.)

                        12           43.     Plaintiff repeats and incorporates by reference the allegations contained in the
                        13
                              preceding paragraphs, as though set forth in full herein.
                        14
                                     44.     The Photograph are original, creative works in which Plaintiff owns valid
                        15
                              copyright properly registered with the United States Copyright Office.
                        16
                        17           45.     Plaintiff has not licensed Defendant the right to use the Photograph in any

                        18    manner, nor has Plaintiff assigned any of its exclusive rights in the Copyrights to Defendant.
                        19
                                     46.     Without permission or authorization from Plaintiff and in willful violation of
                        20
                              Plaintiff's rights under 17 U.S.C. §106, Defendant improperly and illegally copied, stored,
                        21
                              reproduced, distributed, adapted, and/or publicly displayed works copyrighted by Plaintiff
                        22
                        23    thereby violating one of Plaintiff's exclusive rights in its copyrights.

                        24           47.     Defendant's reproduction of the Photograph and display of the Photograph on
                        25
                              the Website constitutes willful copyright infringement. Feist Publications, Inc. v. Rural
                        26
                              Telephone Service Co., Inc., 499 U.S. 340, 361 (1991).
                        27
                                     48.     As a direct and proximate result of Defendant's misconduct, Plaintiff has been
                        28


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                              substantially harmed and should be awarded statutory damages against Defendant pursuant to
                         1
                         2    17 U.S.C. §504(b) in an amount to be proven at trial.

                         3                                      PRAYER FOR RELIEF
                         4
                                     WHEREFORE Plaintiff respectfully requests judgment as follows:
                         5
                                     That the Court enters a judgment finding that Defendant has infringed on Plaintiff's
                         6
                              rights to the Photograph in violation of 17 U.S.C. §501 et seq. and award damages and
                         7
                         8    monetary relief as follows:

                         9                   a.     Actual damages against Defendant pursuant to 17 U.S.C. §504(b) and
                        10
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                                                    the disgorgement of Defendant' wrongful profits in an amount to be
                        11
                                                    proven at trial; and
                        12
                                             b.     A permanent injunction against Defendant pursuant to 17 U.S.C. §502;
                        13
                        14                          and

                        15                   c.     Plaintiff's costs; together with
                        16
                                             d.     Such other relief that the Court determines is just and proper.
                        17
                              DATED: January 5, 2021
                        18
                                                                            BARSHAY SANDERS, PLLC
                        19
                        20                                                  By:     /s/ Craig B. Sanders
                                                                            Craig B. Sanders, Esq.
                        21                                                  100 Garden City Plaza, Suite 500
                                                                            Garden City, NY 11530
                        22
                                                                            Tel: (516) 203-7600
                        23                                                  Email: csanders@barshaysanders.com
                                                                            Attorneys for Plaintiff
                        24                                                  File No.: 120145
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